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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable John A. Mendez
United States District Judge
Sacramento, California

                                          RE:    Randel Sadsad SANTOS
                                                 Docket Number: 2:05CR00033-02
                                                 PERMISSION TO TRAVEL
                                                 OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to Pampanga, Philippines. He is current
with all supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On June 14, 2006, Santos was sentenced for the
offense of Conspiracy to Distribute MDMA. He has been under supervision for two years
and has been in compliance with all conditions of supervision.


Sentence imposed: 72 months custody Bureau of Prisons; 3 years Supervised Release;
$100 special assessment; DNA testing. Special conditions: Warrantless search;
Financial disclosure; Substance abuse testing, treatment and co-payment; Register as a
drug offender.


Dates and Mode of Travel: November or December 2011, by plane.


Purpose: Santos will be traveling with family and visiting family in the Philippines.




                                                                                                           R ev. 05/2006
                                            1            T R A V E L ~ O U T S ID E C O U N T R Y C O U R T M E M O .M R G
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RE:    Randel Sadsad SANTOS
       Docket Number: 2:05CR00033-02
       PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                   Respectfully Submitted,

                                      /s/ Dayna D. Ward

                                     DAYNA D. WARD
                           Senior United States Probation Officer

DATED:       October 21, 2011
             Roseville, California
             DDW:cd


REVIEWED BY:            /s/ Dayna D. Ward for
                        KYRIACOS M. SIMONIDIS
                        Supervising United States Probation Officer



ORDER OF THE COURT:

Approved            X                             Disapproved


       10/24/2011                                 /s/ John A. Mendez
Date                                              JOHN A. MENDEZ
                                                  United States District Judge




                                                                                                             R ev. 05/2006
                                              2            T R A V E L ~ O U T S ID E C O U N T R Y C O U R T M E M O .M R G
